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 9
     Counsel for Plaintiff
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15
                                       UNITED STATES DISTRICT COURT
16                                   NORTHERN DISTRICT OF CALIFORNIA

17   Tara Amado, on behalf of herself, all others   Case No: 3:22-cv-5427-MMC
     similarly situated, and the general public,
18
                                                    JOINT STIPULATED REQUEST FOR AN
19                           Plaintiff,             ORDER GRANTING PLAINTIFF LEAVE TO
                    v.                              FILE A SECOND AMENDED COMPLAINT AND
20                                                  SETTING ASSOCIATED DEADLINES
     The Procter & Gamble Co.,
21                                                  [N.D. Cal. Civ. L.R. 6-1 and 6-2]
22                           Defendant.
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                     Amado v. The Procter & Gamble Co., Case No. 3:22-cv-5427-MMC
        STIPULATED REQUEST FOR ORDER RE: PLAINTIFF’S SAC AND DEFENDANT’S MOTION TO DISMISS SAC
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 1          WHEREAS, on September 22, 2022, Plaintiff filed her Complaint against The Procter & Gamble

 2   Company (“P&G” or “Defendant”) (Dkt. No. 1);

 3          WHEREAS, on September 28, 2022, Plaintiff sent P&G a Request for Waiver of Service of

 4   Summons, which P&G executed on October 11, 2022 (Dkt. No. 7);

 5          WHEREAS, on November 28, 2022, P&G filed a Motion to Dismiss the Complaint (Dkt. No. 17

 6   (“Motion to Dismiss”));

 7          WHEREAS, Plaintiff chose to amend her complaint as a matter of course pursuant to Fed. R. Civ. P.

 8   15(a)(1)(B);

 9          WHEREAS, Plaintiff’s amended complaint was originally due December 19, 2022, see Fed. R. Civ.

10   P. 15(a)(1)(B);

11          WHEREAS, the parties requested and the Court granted an extension of Plaintiff’s deadline to file a

12   First Amended Complaint (“FAC”) to January 13, 2023 (Dkt. No. 20 at 1);

13          WHEREAS, Plaintiff filed her FAC on January 13, 2023 (Dkt. No. 21);

14          WHEREAS, pursuant to the Court’s Order Granting Stipulated Request for Order Regarding

15   Deadlines for Plaintiff’s First Amended Complaint and the Procter & Gamble Company’s Motion to Dismiss

16   the First Amended Complaint, P&G’s motion to dismiss the FAC is currently due on or before February 10,

17   2023 (Dkt. No. 20 at 1);

18          WHEREAS, counsel for Plaintiff have been retained by a citizen of New York for the purpose of
19   filing a class action lawsuit against P&G for claims relating to the marketing and sale of the Metamucil

20   products at issue in this action (see FAC, Dkt. No. 21, at 2 n.1);

21          WHEREAS, Plaintiff cannot amend her complaint to add this New York citizen as a plaintiff and

22   class representative in this action without P&G’s consent or the Court’s leave, see Fed. R. Civ. P. 15(a)(2);

23          WHEREAS, Plaintiff believes that amendment of the complaint now will promote judicial economy

24   by preventing piecemeal and duplicative litigation in light of P&G’s anticipated motion to dismiss;

25          WHEREAS, P&G consents to Plaintiff amending her pleading pursuant to Fed. R. Civ. P. 15(a)(2),

26   but expressly reserves all rights and defenses to any amended pleading, including those under Federal Rule
27   of Civil Procedure 12(b);

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 1             WHEREAS, the parties have conferred regarding amendment of the complaint and a mutually

 2   agreeable schedule for the filing of Plaintiff’s Second Amended Complaint (“SAC”) and for the briefing of

 3   P&G’s anticipated motion to dismiss the SAC, and respectfully request, pursuant to Civil L.R. 6-1 and 6-2,

 4   that the Court enter a stipulated order granting the parties’ requested briefing schedule;

 5             WHEREAS there is good cause for this request because amendment will preserve judicial and party

 6   resources, avoid piecemeal litigation, and will not prejudice the interests of the parties or the Court;

 7             WHEREAS, the Court has not entered a Scheduling Order pursuant to Fed. R. Civ. P. 16, and so this

 8   request will not affect any other case deadlines;

 9             NOW, THEREFORE, pursuant to Civil L.R. 6-1 and 6-2, and subject to the approval of the Court,

10   the parties hereby stipulate to the filing of a SAC and the following schedule:

11             1.      Plaintiff shall file her SAC on or before February 10, 2023.

12             2.      P&G shall file its Motion to Dismiss the SAC on or before March 10, 2023.

13             3.      Plaintiff shall file her Opposition to P&G’s Motion to Dismiss the SAC on or before March

14                     31, 2023.

15             4.      P&G shall file its Reply in support of its Motion to Dismiss the SAC on or before April 14,

16                     2023.

17             5.      P&G’s Motion to Dismiss the SAC will be set for hearing on April 28, 2023, at 9:00 a.m., or

18                     on another date thereafter at the Court’s convenience.
19       Dated: February 1, 2023                     FITZGERALD JOSEPH LLP
20

21                                                   By: /s/ Melanie Persinger1
                                                         Melanie Persinger
22
                                                         Attorney for Plaintiff
23

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28    Pursuant to N.D. Cal. Civ. L.R. 5-1(i)(3), I hereby attest that the concurrence to the filing of this document
     has been obtained from each signatory hereto.
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                        Amado v. The Procter & Gamble Co., Case No. 3:22-cv-5427-MMC
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 1   Dated: February 1, 2023              COVINGTON & BURLING LLP

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 3                                        By: /s/ Henry Liu
                                              Henry Liu
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 5                                            Attorney for The Procter & Gamble
                                              Company
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 9
     Counsel for Plaintiff
10

11
                                       UNITED STATES DISTRICT COURT
12                                   NORTHERN DISTRICT OF CALIFORNIA
13
     Tara Amado, on behalf of herself, all others   Case No: 3:22-cv-5427-MMC
14   similarly situated, and the general public,
                                                    DECLARATION OF MELANIE
15                           Plaintiff,             PERSINGER IN SUPPORT OF
16                  v.                              STIPULATED REQUEST FOR ORDER
                                                    GRANTING LEAVE TO FILE A SECOND
17   The Procter & Gamble Co.,                      AMENDED COMPLAINT AND SETTING
                                                    ASSOCIATED DEADLINES
18
                             Defendant.
                                                    [N.D. Cal. Civ. L.R. 6-1 and 6-2]
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                       Amado v. The Procter & Gamble Co., Case No. 3:22-cv-5427-MMC
                    DECLARATION OF MELANIE PERSINGER IN SUPPORT OF STIPULATED REQUEST
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 1   I, Melanie Persinger, declare:

 2           1.       I am a member in good standing of the State Bar of California; of the United States District

 3   Courts for the Northern, Central and Southern Districts of California; and of the United States Courts of

 4   Appeal for the Ninth Circuit. I make this declaration based on my own personal knowledge, in support of

 5   the parties’ Joint Stipulated Request for an Order Granting Leave to File a Second Amended Complaint

 6   and Setting Associated Deadlines.

 7           2.       On November 28, 2022, The Procter & Gamble Co. (“P&G”) timely filed its Motion to

 8   Dismiss the Complaint (Dkt. No. 17).

 9           3.       Plaintiff’s deadline to amend her complaint as a matter of course in response to P&G’s

10   motion was December 19, 2022. See Fed. R. Civ. P. 15(a)(1)(B).

11           4.       The parties requested and the Court granted an extension of Plaintiff’s deadline to file a First

12   Amended Complaint (“FAC”) to January 13, 2023, and of P&G’s deadline to file a motion to dismiss the

13   FAC to February 10, 2023 (Dkt. No. 20).

14           5.       Plaintiff filed her FAC on January 13, 2023 (Dkt. No. 21).

15           6.       Counsel for Plaintiff have since been retained by a citizen of New York for the purpose of

16   filing a class action lawsuit against P&G for claims relating to the marketing and sale of the Metamucil

17   products at issue in this action.

18           7.       Plaintiff cannot amend her complaint to add a New York citizen as a plaintiff and class
19   representative in this action without P&G’s consent or the Court’s leave, see Fed. R. Civ. P. 15(a)(2).

20           8.       The parties have met and conferred and, through their respective attorneys, stipulate to

21   Plaintiff filing a Second Amended Complaint (“SAC”) and to the following schedule for Plaintiff’s SAC

22   and for the briefing of P&G’s anticipated motion to dismiss the SAC, pursuant to Local Rule 6-1 and 6-2:

23                    a.     Plaintiff shall file her SAC on or before February 10, 2023.

24                    b.     P&G shall file its Motion to Dismiss the SAC on or before March 10, 2023.

25                    c.     Plaintiff shall file her Opposition to P&G’s Motion to Dismiss the SAC on or before

26                           March 31, 2023.
27                    d.     P&G shall file its Reply in support of its Motion to Dismiss the SAC on or before

28                           April 14, 2023.
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 1                   e.     P&G’s Motion to Dismiss the SAC will be set for hearing on April 28, 2023, at 9:00

 2                          a.m., or on another date thereafter at the Court’s convenience.

 3          9.       This request constitutes the parties’ second request to extend case deadlines.

 4

 5          I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge.

 6   Executed this 1st day of February, 2023, in San Diego, California.

 7                                          By:    /s/ Melanie Persinger
                                                   Melanie Persinger
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                     DECLARATION OF MELANIE PERSINGER IN SUPPORT OF STIPULATED REQUEST
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 7                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
 8
     Tara Amado, on behalf of herself, all others   Case No: 3:22-cv-5427-MMC
 9
     similarly situated, and the general public,
10                                                  [PROPOSED] ORDER GRANTING
                           Plaintiff,               STIPULATED REQUEST FOR LEAVE TO FILE
11                  v.                              A SECOND AMENDED COMPLAINT AND
                                                    SETTING ASSOCIATED DEADLINES
12
     The Procter & Gamble Co.,
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                           Defendant.
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                         Amado v. The Procter & Gamble Co., Case No. 3:22-cv-5427-MMC
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 1          Having reviewed the Parties’ Joint Stipulated Request for an Order Granting Plaintiff Leave to File a

 2   Second Amended Complaint and Setting Associated Deadlines Pursuant to Local Rule 6-2, and for good

 3   cause shown, IT IS HEREBY ORDERED THAT Plaintiff is granted leave to file a Second Amended

 4   Complaint (“SAC”) and the deadline for Plaintiff’s SAC and the briefing schedule for P&G’s anticipated

 5   motion to dismiss the SAC shall be as follows:

 6              1. Plaintiff shall file her SAC on or before February 10, 2023.

 7              2. P&G shall file its Motion to Dismiss the SAC on or before March 10, 2023.

 8              3. Plaintiff shall file her Opposition to P&G’s Motion to Dismiss the SAC on or before March

 9                 31, 2023.

10              4. P&G shall file its Reply in support of its Motion to Dismiss the SAC on or before April 14,

11                 2023.

12              5. P&G’s Motion to Dismiss the SAC will be set for hearing on April 28, 2023, at 9:00 a.m., or

13                 on another date thereafter at the Court’s convenience.

14          PURSUANT TO STIPULATION, IT IS SO ORDERED.

15

16            February 3, 2023
      Dated: __________________                          ______________________________
                                                         ____
                                                           ___________________________
                                                           __                         _ ___
                                                                                      __
                                                              Hon.
                                                         Thee Ho
                                                              H  n. Maxine M. Chesney
17                                                       United States District Judge
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                        Amado v. The Procter & Gamble Co., Case No. 3:22-cv-5427-MMC
                              [PROPOSED] ORDER GRANTING STIPULATED REQUEST
